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                                                                             United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                              November 10, 2016
                         UNITED STATES DISTRICT COURT
                                                                                  David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

CARLOS REYNA,                               §
                                            §
        Plaintiff,                          §
VS.                                         §   CIVIL ACTION NO. 2:15-CV-00371
                                            §
INTERNATIONAL BANK OF                       §
COMMERCE,                                   §
                                            §
        Defendant.                          §

                                  FINAL JUDGMENT

       Pursuant to the Court’s Order (D.E. 63), the Court enters final judgment

dismissing this action without prejudice.

       ORDERED this 10th day of November, 2016.


                                             ___________________________________
                                             NELVA GONZALES RAMOS
                                             UNITED STATES DISTRICT JUDGE




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